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4    Telephone: (916) 554-2770
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6

7                      IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )            CASE NO. 2:09-CR-358 WBS
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )            STIPULATION AND [PROPOSED]
                                   )            ORDER TO EXCLUDE TIME
13   JOSE OLIVERA ZAPIEN, et.al.   )
                                   )
14                                 )
                    Defendant.     )
15   ______________________________)
16

17          The parties request that the status conference in this case
18   be continued from October 11, 2011 to November 21, 2011 at 9:30
19   a.m.   They stipulate that the time between October 11, 2011 and
20   November 2011 should be excluded from the calculation of time
21   under the Speedy Trial Act.       The parties stipulate that the ends
22   of justice are served by the Court excluding such time, so that
23   counsel for the defendant may have reasonable time necessary for
24   effective preparation, taking into account the exercise of due
25   diligence.    18 U.S.C. § 3161(h)(7)(B)(iv)and Local Code T-4.
26   Specifically, all defense counsel need additional time to review
27   the discovery provided and investigate the case.          Well over 2000
28   pages of discovery and 80 CD’s containing video, audio recordings

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1    and photographs have been provided to the defense counsel to
2    date.   Defense counsel are still reviewing approximately 1200 new
3    pages of discovery provided by the government in January 2011.
4    Further, the parties are actively engaged in plea negotiations
5    and it is anticipated this time period will aide in the
6    resolution of this case for a number of parties.          The parties
7    stipulate and agree that the interests of justice served by
8    granting this continuance outweigh the best interests of the
9    public and the defendants in a speedy trial.          18 U.S.C. §
10   3161(h)(7)(A).
11

12                                             Respectfully Submitted,
13                                             BENJAMIN B. WAGNER
                                               United States Attorney
14

15
     DATE: October 7, 2011              By:     /s/ Heiko P. Coppola
16                                             HEIKO P. COPPOLA
                                               Assistant U.S. Attorney
17

18
     DATE: October 7, 2011                      /s/ Michael Petrick
19                                             MICHAEL PETRICK
                                               Attorney for Defendant Jose
20                                             Olivera Zapien
21                                              /s/ Gilbert Roque
                                               GILBERT ROQUE
22                                             Attorney for Defendant Ramiro
                                               Suarez
23
                                                /s/ Ruben Munoz
24                                             RUBEN MUNOZ
                                               Attorney for Defendant Adolfo
25                                             Valencia Alvarez
26                                              /s/ Olaf Hedberg
                                               OLAF HEDBERG
27                                             Attorney for Defendant Jose
                                               Quintero Fernandez
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1                                               /s/ Clemente Jimenez
                                               CLEMENTE JIMENEZ
2                                              Attorney for Defendant Jose
                                               Moreno Gutierrez
3

4                                               /s/ Tim Pori
                                               TIM PORI
5                                              Attorney for Defendant Erik
                                               Aguilar Lara
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9                                              SO ORDERED.
10
     DATE:   October 7, 2011
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